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                      UNITED STATES DISTRICT COURT
                      EASTER DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

TYLER L. BATTLES                                                 PLAINTIFF

vs.                        CASE NO.4:23-CV-593-BRW

SHELTER MUTUAL INSURANCE COMPANY                                DEFENDANT

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